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 PROB l2B                                                             SDTL PACTSNo.114507
 (SD/FL 9,96)


                     UNITED STA TE S DISTRICT CO U RT
                         SO UTH ERN DISTRICT OF FLO RIDA
                         CASE NO.1:02-20947-CR-LENARD-2
                RepuestforM odifyine the ConditionsorTerm ofSupervision
                             w ith ConsentoftheOFender
                                ro aton orm y .#er(
                                                  1 eprng : tAç ed)

 NameofOflknder:Henry Tarrio,Jr.
 Name ofSentencing JudicialOë cer:TheH onorable Joan A.Lenard,United StatesDistrictJudge
 M iami.Florida
 DateofOriginalSentence:August22,2013
 OriginalOFense:     CountOne:M isbranding FDCA deviceswhileheld forsaltahershipment
                     ininterstatecommerce,21U.S.C.j331(k)(333)(a)(2)and352(a),aClass
                     E felony
                     CountTwo;Conspiracy to receive,possess,and sellstolen property,l8
                     U.S.C.j371,aClassD felony
                     CountThree:Possessionandsaleofstoltnproperty,18U.S.C.j2315,a
                     ClassC felony
                     CountFive:Transporting,Transmitting,and Transferring Stolen Goodsin
                     lnterstateCommerce,18U.S.C.j2314,aClassC felony
 OriginalSentence:   Thirty(30)monthscustodyoftheBureauofPrisons,astoeachcountsOne,
                     Two,Three,andFive,al1to run concurrently. Followedby two (2)years
                     supervised releaseasto CountsOne,Two,Three,and Fiveallconcurrently,
                     withthefollowingspecialconditions:(1)providesnancialdisclosure,(2)no
                     neW debt,(3)permissible search,(4)self-employmentrestriction,and (5)
                     substanceabusetreatment.In addition,a $400.00 assessmentwasimposed.
                     On August26,2013,Amended Judgm entin aCriminalCase wassigned by
                     YourH onor,based on a correction ofsentence forclericalmistake.

                     On December27,2013,Amended Judgmentin a CriminalCase wassigned
                     byYourHonor,based on a modiscation ofrestitution ordering the payment
                     of $1,200,000.00 atthe rate of10% ofmonthly grossearning,untilsuch
                     timeasthecourtmay alterthatpaymentscheduleintheinterestofjustice.
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 PROB
 (SD/FL12B
        9/96)                                                            SD/FL PACTSNo.l14507


                        On July 22,2014,OrderGranting M otion forReduction ofSentence and
                        Amending Order ofJudgment and Commitment signed by Your Honor,
                        reducingthedefendant'sterm ofimprisonmentto 16 months.Furtherordered
                        and adjudged that a11 other provisions of the original Judgment and
                        CommitmentOrderenteredonAugust26,2013,shallrtmaininfullforceand
                        eFect.

 TypeofSupervision:Supervised Release        Date Supervision Comm enced:D ecember12,2013



                              PETITIO N IN G TH E C O U RT

 () Toextendtheterm ofsupervisionfor- years,foratotalterm of- years,
 (X) Tomodifytheconditionsofsupervisionasfollows:

          Thedefendantshallparticipatein theLocationM onitoringprogram fora period of120
          days.During thistim e,thedefendantlhallremain athisplace ofresidenceexceptfor
          em ploym entand otheractivitiesapproved in advance by theUnited StatesProbation
          Om cer. The defendantshallm aintain a telephone athis place ofresidencew itheut
          $çcalIforwarding''.iscallwaiting''.a modem ,çicall1D''orReallbatk callblock''sea ices
          fer the above period. The defendantshallwear a Location M onitoring device and
          follew the location m onitoring procedures specised by the United States Probation
          Om cer. The defendant shall pay for the Iocation m onitoring equipm ent at the
          prevailing rate,or in accordance w ith ability to pay.


                                           C AU SE

 1.      ViolationofSpecialCondition,byapplyingfor,soliciting orincurringfurtherdebtwithout
         Grstobtaining permission oftheU .S.Probation Om cer. On oraboutD ecember28,2014,
         thedefendantmadeanapplicationforcreditatSYNCB/CARE CREDIT andw asgivenaline
          ofcreditinthatamountof$2000.00,asevidenced by CreditBureau Investigation (CB1)
         conducted on February l9,2015,without frst obtaining the permission from the U .S.
         ProbationOë cer.
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 PROB 12B                                                                          SD/FL PACTSNo.114507
 (SD/
    'FL9/96)



 2.         Violation ofStandard Condition,by leaving thejudicialdistrictwithoutflrstsecuring
            permission ofthe probation oë cer.On oraboutJanuary 28,2016,the defendanttravelto
            Colorado,withoutsecuringthepermissionoftheprobation oë cerorthecourt,asevidence
            by a verbaltraë cviolation warning given by CorporalRob D ebelak oftheColorado State
            Patrol.
                                                                   Respectfully submitted,
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                                                                   Nelson OmarValena ela
                                                                   U .S.Probation Om cer
                                                                   Oëce:(954)769-5634
                                                                   M obile:(754)423-0550           kr,
                                                                                                     k
                                                                                                     ==
                                                                   Date:February 18,2016
                                     LL-L/      ('l)èï)        '


 THE COURT ORDERS:

 E1         NOAction
 ()         TheExtensionofSupervisionasNotedAbove
            TheM odification ofConditionsasNoted Above
 Ej         SubmitaRequestfor-W arrantor- Summons




                                                                   Signature ofJu ' 'lOë cer


                                                                   ug.
                                                                     , yy
                                                                        Date
